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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA
Vv.
MATTHEW THOMAS PURSE,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-475

VIOLATIONS:

18 U.S.C. § 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, MATTHEW

THOMAS PURSE, attempted to, and did, corruptly obstruct, influence, and impede an official

proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the

Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, MATTHEW THOMAS
PURSE, did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, without lawful authority to
do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, MATTHEW THOMAS
PURSE, did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, MATTHEW THOMAS
PURSE, willfully and knowingly engaged in disorderly and disruptive conduct within the United
States Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and

disturb the orderly conduct of a session of Congress and either House of Congress, and the orderly
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conduct in that building of a hearing before or any deliberation of, a committee of Congress or
either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, MATTHEW THOMAS
PURSE, willfully and knowingly paraded, demonstrated, and picketed in any United States
Capitol Building.
(Parading, Demonstrating, or Picketing in 2 Capitol Building, in violation of Title 40,

United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Attornéy of the United ‘States in
and for the District of Columbia.
